                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                             Case No. 5:16-cv-00001-D

VALENCELL, INC.,                                   )
                                                   )
                           Plaintiff,              )
                                                   )
                                                           STIPULATION OF DISMISSAL
               v.                                  )
                                                   )            WITH PREJUDICE
                                                   )
APPLE INC.,
                                                   )
                                                   )
                           Defendant.              )

       Plaintiff Valencell, Inc. (“Valencell”) and Defendant Apple Inc. (“Apple”) announce to

the Court that they have settled their respective claims for relief asserted in this case. Pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(ii) and (c), the parties stipulate that all claims for relief asserted by

Valencell against Apple are dismissed with prejudice and that all counterclaims for relief

asserted by Apple against Valencell are dismissed with prejudice. Each party shall bear its own

attorneys’ fees, costs of court, and expenses.




           Case 5:16-cv-00001-D Document 303 Filed 09/07/18 Page 1 of 3
       Respectfully submitted this the 7th day of September, 2018.


/s/ Christopher T. Graebe                      /s/ Charles F. Marshall
Christopher T. Graebe                          Charles Marshall
N.C. Bar No. 17416                             N.C. Bar No. 23297
Graebe Hanna & Sullivan, PLLC                  Craig D. Schauer
4350 Lassiter at North Hills Ave, Ste 375      N.C. Bar No. 41571
Raleigh, NC 27609                              Darrell A. Fruth
Tel: (919) 863-9092                            N.C. Bar No. 42121
Fax: (919) 424-6407
cgraebe@ghslawfirm.com                         BROOKS, PIERCE, MCLENDON,
LR 83.1 Attorney for Valencell, Inc.Chris      HUMPHREY & LEONARD, L.L.P.
Graebe                                         P.O. Box 1800
                                               Raleigh, NC 27602
Jeffrey R. Bragalone                           Phone: (919)839-0300
(admitted pro hac vice)                        Fax: (919) 839-0304
Texas Bar No. 02855775                         cmarshall@brookspierce.com
Patrick J. Conroy                              cschauer@brookspierce.com
(admitted pro hac vice)
Texas Bar No. 24012448                         Angel Mitchell
Jonathan H. Rastegar                           Mo. State Bar No. 52309
(admitted pro hac vice)                        B. Trent Webb
Texas Bar No. 24064043                         Mo. State Bar No. 40778
                                               Ryan Schletzbaum
BRAGALONE CONROY PC                            Mo. State Bar No. 62631
2200 Ross Avenue
Suite 4500W                                    SHOOK, HARDY & BACON L.L.P.
Dallas, TX 75201                               2555 Grand Boulevard
Tel: (214) 785-6670                            Kansas City, Mo 64108
Fax: (214) 785-6680                            Telephone: 816-474-6550
jbragalone@bcpc-law.com                        Facsimile: 816-421-5547
pconroy@bcpc-law.com                           bwebb@shb.com
jrastegar@bcpc-law.com                         amitchell@shb.com
                                               rschletzbaum@shb.com
Attorneys for Plaintiff
VALENCELL, INC.                                Attorneys for Defendant
                                               APPLE INC.




           Case 5:16-cv-00001-D Document 303 Filed 09/07/18 Page 2 of 3
                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                             Case No. 5:16-cv-00001-D

VALENCELL, INC.,                                )
                                                )
               Plaintiff,                       )
                                                )
       v.                                       )
                                                )          CERTIFICATE OF SERVICE
                                                )
APPLE INC.,
                                                )
                                                )
               Defendant.                       )



       The undersigned hereby certifies she electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which pursuant to Local Civil Rule 4.1(e), constitutes service

on all counsel of record.

This the 7th day of September, 2018.

                                                        Respectfully submitted,

                                                        /s/ Angel D. Mitchell
                                                        Angel D. Mitchell
                                                        MO State Bar No. 52309
                                                        amitchell@shb.com
                                                        SHOOK, HARDY & BACON L.L.P.
                                                        2555 Grand Boulevard
                                                        Kansas City, Missouri 64108
                                                        Phone: (816) 474-6550
                                                        Fax: (816) 421-5547

                                                        Attorney for Defendant Apple Inc.




            Case 5:16-cv-00001-D Document 303 Filed 09/07/18 Page 3 of 3
